Case 8:08-cr-00252-JSM-TBM Document 52 Filed 11/03/08 Page 1 of 6 PageID 120
Case 8:08-cr-00252-JSM-TBM Document 52 Filed 11/03/08 Page 2 of 6 PageID 121
Case 8:08-cr-00252-JSM-TBM Document 52 Filed 11/03/08 Page 3 of 6 PageID 122
Case 8:08-cr-00252-JSM-TBM Document 52 Filed 11/03/08 Page 4 of 6 PageID 123
Case 8:08-cr-00252-JSM-TBM Document 52 Filed 11/03/08 Page 5 of 6 PageID 124
Case 8:08-cr-00252-JSM-TBM Document 52 Filed 11/03/08 Page 6 of 6 PageID 125
